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Morgan County Veterans Service Office ao

202 South Kingston Street MORGAN COUNTY
Wartburg, Tennessee 37887

10 June 2024

The Honorable Trevor N. McFadden
United States District Court for the District of Columbia
333 Constitution Avenue N.W.

Washington D.C. 20001

Dear Judge McFadden,

!am Mark Keck, Chief Warrant Officer 5, USN, Retired. | served in the military for 35 years. Currently |

am the Veterans Service Officer for Morgan County Tennessee. Also, for ten years worked as Court
Bailiff.

| am writing to you on behalf of Miles Adkins who | have known his whole life. Full disclosure is that he is
my nephew. Since his childhood days he has had a very strong sense of love for God, family and in
teenage years forward also the Country. He has proven this when he had an offer of a college
scholarship through sports, he instead chose to serve his country in the United States Marine Corps,
from which he was Honorably discharged.

Since his discharge he has been active in the community and works hard every day to
ensure safety compliance on various job sites. He was elected to the School Board andisa
pillar within his local community.

Knowing Miles as | do, | can assure you that his entering the building although wrong was
not done so with any malice or ill intent of those hallowed grounds. He is truly remorseful

for entering the building and any leniency you could afford him would be greatly

appreciated to allow this man to continue being a productive and contributing member of
society.

Sincerely,

Son F_-D—

M. H. Keck, CWOS, USN(Ret.)

